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                    LTD., SAMSUNG ELECTRONICS AMERICA,
                  INC. and SAMSUNG
                    TELECOMMUNICATIONS AMERICA, LLC
                 

                                              UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                 

                  APPLE INC., a California corporation,          CASE NO. 11-cv-01846-LHK (PSG)

                                 Plaintiff,                      DECLARATION OF HANKIL KANG IN
                                                                   SUPPORT OF SAMSUNG'S
                          vs.                                    ADMINISTRATIVE MOTION TO FILE
                                                                   DOCUMENTS UNDER SEAL
                  SAMSUNG ELECTRONICS CO., LTD., a
                    Korean business entity; SAMSUNG
                  ELECTRONICS AMERICA, INC., a New
                    York corporation; SAMSUNG
                  TELECOMMUNICATIONS AMERICA,
                    LLC, a Delaware limited liability company,
                 
                                  Defendant.
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02198.51855/4617777.1                                                             Case No. 11-cv-01846-LHK (PSG)
                                                        DECLARATION OF HANKIL KANG IN SUPPORT OF SAMSUNG'S
                                                       ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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                   1          I, Hankil Kang, declare:

                   2          1.     I am Legal Counsel at Samsung Electronics Co., Ltd. (“SEC”). I submit this

                   3 declaration in support of Samsung’s Administrative Motion to File Documents Under Seal, filed

                   4 by SEC, Samsung Electronics America, Inc. (“SEA”) and Samsung Telecommunications

                   5 America, LLC (“STA”) (collectively, “Samsung”). I have personal knowledge of the facts set

                   6 forth in this declaration, except as otherwise noted, and, if called as a witness, could and would

                   7 testify to those facts under oath.

                   8          2.     The requested relief is necessary to protect the confidentiality of information

                   9 discussed in Samsung’s Motion for a Protective Order Precluding the Depositions of Ten High-

                 10 Ranking Samsung Executives (“Samsung’s Motion”), Exhibits A, B, and E-M to the Declaration

                 11 of Rachel Kassabian, the Declaration of Samuel Lee, and the declarations of the eight executives

                 12 submitted in support thereof. These documents contain highly confidential and commercially

                 13 sensitive business information, including confidential information about Samsung’s business

                 14 structure and the duties of its executives.

                 15                           Exhibits to the Declaration of Rachel Kassabian
                 16           3.     Exhibits A, B, and E to the Declaration of Rachel Kassabian are letters from

                 17 Samsung’s counsel to Apple’s counsel. They contain confidential information regarding the

                 18 structure of SEC and the duties of its highest executives.

                 19           4.     Exhibits F to K to the Declaration of Rachel Kassabian are transcripts from the

                 20 depositions of Samsung employees.

                 21                  a.      Exhibit F is an excerpt from the transcript of Hangil Song. It contains

                 22 discussions of product design and development, as well as internal Samsung communications, and

                 23 should be sealed.

                 24                  b.      Exhibit G is an excerpt from the transcript of Bo-Ra Kim. It contains

                 25 discussions of product design and development, as well as internal Samsung communications, and

                 26 should be sealed.

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                   1                c.      Exhibit H is an excerpt from the transcript of Sun Young Yi. It contains

                   2 discussions of product design and development, as well as internal Samsung communications, and

                   3 should be sealed.

                   4                d.      Exhibit I is an excerpt from the transcript of Jinsoo Kim. It contains

                   5 discussions of product design and development, the business duties and role of Samsung

                   6 executives, and Samsung’s business organization, and should be sealed.

                   7                e.      Exhibit J is an excerpt from the transcript of Jungmin Yeo. It contains

                   8 discussions of product design and development, and should be sealed.

                   9                f.      Exhibit K is an excerpt from the transcript of Timothy Sheppard. It contains

                 10 discussions of the duties and actions of Samsung’s highest executives, as well as internal Samsung

                 11 communications, and should be sealed.

                 12                 g.      Exhibit L is the declaration of Jaewan Chi, submitted before the ITC. As

                 13 discussed below, it should be sealed.

                 14                 h.      Exhibit M is the declaration of Seungho Ahn, submitted before the ITC. As

                 15 discussed below, it should be sealed.

                 16          5.     Exhibits L and M are declarations of Samsung executives submitted before the

                 17 International Trade Commission. They contain confidential information about the business

                 18 structure of Samsung, as well as the duties of those executives.

                 19          6.     Deposition testimony regarding how Samsung designs its products, as well as

                 20 testimony regarding its functionality, is confidential to Samsung. It is Samsung’s policy not to

                 21 disclose its internal design or development process, or specific functionality, and such testimony

                 22 represent Samsung’s confidential business information. The deposition testimony, letters, and

                 23 declarations also contains highly confidential and commercially sensitive business information,

                 24 including confidential information about Samsung’s business structure and the duties of its

                 25 executives. If disclosed, this information could be used by Samsung’s competitors to Samsung’s

                 26 disadvantage.

                 27                        Declarations of Samsung’s High-Ranking Executives
                 28          7.     Gee Sung Choi is the Vice Chairman and Chief Executive Officer of SEC. His
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                                                             DECLARATION OF HANKIL KANG IN SUPPORT OF SAMSUNG'S
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                   1 declaration contains nonpublic, confidential information about his daily duties and the structure

                   2 and management of SEC. A properly redacted version of this declaration is attached hereto as

                   3 Exhibit 3.

                   4         8.      Jong Kyun Shin is President of the Mobile Communications division of SEC. His

                   5 declaration contains nonpublic, confidential information about his daily duties and the structure

                   6 and management of SEC. A properly redacted version of this declaration is attached hereto as

                   7 Exhibit 4.

                   8         9.      Dale Sohn is President and Chief Executive Officer of STA. His declaration

                   9 contains nonpublic, confidential information about his daily duties and the structure and

                 10 management of STA. A properly redacted version of this declaration is attached hereto as Exhibit

                 11 9.

                 12          10.     Joseph Cheong is Chief Financial Officer of STA. His declaration contains

                 13 nonpublic, confidential information about his daily duties and the structure and management of

                 14 STA. A properly redacted version of this declaration is attached hereto as Exhibit 10.

                 15          11.     Seunghwan Cho is an Executive Vice President in the Mobile Communications

                 16 Business Unit (also known as the Wireless Business Unit) at SEC. His declaration contains

                 17 nonpublic, confidential information about his daily duties and the structure and management of

                 18 SEC. A properly redacted version of this declaration is attached hereto as Exhibit 7.

                 19          12.     WonPyo Hong is an Executive Vice President in the Mobile Communications

                 20 Business Unit of SEC. His declaration contains nonpublic, confidential information about his

                 21 daily duties and the structure and management of SEC. A properly redacted version of this

                 22 declaration is attached hereto as Exhibit 5.

                 23          13.     Heonbae Kim (also spelled HunBae Kim) is an Executive Vice President in the

                 24 Mobile Communications Business Unit of SEC. His declaration contains nonpublic, confidential

                 25 information about his daily duties and the structure and management of SEC. A properly redacted

                 26 version of this declaration is attached hereto as Exhibit 6.

                 27          14.     Dong Jin Koh is an Executive Vice President in the Mobile Communications

                 28 Business Unit of SEC. His declaration contains nonpublic, confidential information about his
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                   1 daily duties and the structure and management of SEC. A properly redacted version of this

                   2 declaration is attached hereto as Exhibit 8.

                   3

                   4                                      Declaration of Samuel Lee
                   5          15.    Samuel Lee is Senior Legal Counsel for SEC. His declaration contains nonpublic,
                   6 confidential and detailed descriptions of Samsung’s business organization and structure, including

                   7 projects that particular designers and engineers worked on. A properly redacted version of this

                   8 declaration is attached hereto as Exhibit 2.

                   9                                                 ***
                 10           16.    Samsung’s Motion contains references to and discussions of all of the confidential
                 11 information listed above. It is Samsung’s policy not to disclose or describe its confidential

                 12 business affairs, practices, or structures. This information is confidential to Samsung. It is

                 13 indicative of the way that Samsung manages its business and conducts business strategy, and thus

                 14 it could be used by Samsung’s competitors to Samsung’s disadvantage. A properly redacted

                 15 version of the motion is attached hereto as Exhibit 1.

                 16           I declare under penalty of perjury under the laws of the United States of America that the
                 17 forgoing is true and correct to the best of my knowledge.

                 18           Executed on this 23rd day of February, 2012, in Seoul, Republic of Korea.
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                 22                                                        _________________________________
                                                                                 Hankil Kang
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                   1                                   General Order 45 Attestation
                   2          I, Victoria F. Maroulis, am the ECF user whose ID and password are being used to file this
                   3 Declaration. In compliance with General Order 45(X)(B), I hereby attest that Hankil Kang has

                   4 concurred in this filing.

                   5                                                               /s/ Victoria Maroulis

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